Case 4:09-cr-00024-MFU        Document 151 Filed 07/23/13         Page 1 of 1     Pageid#:
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U NITED STA TE S O F A M ER ICA                  Case N o.4:09-cr-00024-2

V.                                               j2255 ORDER
W ILLIA M A LO N ZO TA Y LO R ,                  By:    H on.Jaclkson L.K iser
      Petitioner.                                       SeniorU nited States D istrictJudge

       Forthereasonsstated inthe accom panyingM em orandllm Opinion,itishereby

                                        OR D ERE D

thatpetitioner'smotiontovacate,setasideorcorrectsentence,ptlrsuantto28U.S.C.j2255,is
DISM ISSED withoutprejudiceassuccessive,acertificateofappealabilityisDENIED,and
the case isSTR IC K EN from the active docket.

       The Clerk shallsend copiesofthisOrderand theaccompanying M em orandum Opinion

to petitionerandcounselofrecord forthe United States.

       ENTER:This 3 ayofJuly,2013.
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                                                 Seni rU nited StatesD istrictJudge
